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                             UNITED STATES BANKRUPTCY COURT                       SF00200 (rev 07/2010)
                               SOUTHERN DISTRICT OF INDIANA
                                    121 W Spring St Rm 110
                                     New Albany, IN 47150

In Re:
    Eastern Livestock Co., LLC                               Case Number:
       SSN: NA               EIN: NA                         10−93904−BHL−11
    Debtor(s)                                                JOINTLY ADMINISTERED

                                              NOTICE

   NOTICE IS HEREBY GIVEN that the Court will consider and act upon the following matters
and to transact such other business as may properly come before the Court:

      Hearing Re: Motion to Compel Trustee to File Mandatory Report Required by 11
      U.S.C. §1106(a), To Amend Schedules and Statement of Financial Affairs and
      Produce Budget filed by Christopher M. Trapp, John M. Rogers on behalf of
      Petitioning Creditor Superior Livestock Auction, Inc. [983]

   Objections are due three (3) business days prior to hearing.

      Date: February 13, 2012
      Time: 10:00 AM EST
      Place: Rm. 103 Federal Building, 121 W. Spring St., New Albany, IN 47150

   Motions for continuances must be filed as soon as the cause for continuance or delay is
discovered by the party requesting the continuance and no later than seven (7) days before the
date of the hearing. Motions for continuances filed less than seven (7) days before the hearing
date will be granted only upon a showing of good cause. Every motion for continuance shall
denominate whether opposing counsel objects to the continuance or what efforts were made to
contact opposing counsel regarding such request for continuance.

   The above−referenced document is available on the Court's PACER site at
http://pacer.insb.uscourts.gov or it may be requested from the filer.

Dated: January 31, 2012                            KEVIN P. DEMPSEY, CLERK
                                                   U.S. BANKRUPTCY COURT
